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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

Sandra Mazur
                                            Plaintiff,
v.                                                       Case No.: 1:17−cv−01789
                                                         Honorable Harry D. Leinenweber
Caesars Entertainment Corporation, et al.
                                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, July 12, 2018:


       MINUTE entry before the Honorable Harry D. Leinenweber: A STIPULATION of
Dismissal having been filed, this case is hereby closed. Civil case terminated. Mailed
notice(maf)




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